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          Exhibit 2
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                   UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF OKLAHOMA
RICHARD GLOSSIP, et al.,      )
                              )
     Plaintiffs,              ) Case No. CIV-14-665-F
                              )
            vs.               )
                              )
RANDY CHANDLER, et al.,       )
                              )
     Defendants.              )


                DEFENDANTS’ RESPONSES TO PLAINTIFFS’
             POST-DISCOVERY REQUESTS FOR PRODUCTION OF
                             DOCUMENTS

       Defendants, by and through their attorneys, and pursuant to Rules 34 of the Federal

Rules of Civil Procedure and the Local Rules of this Court, respond and object to Plaintiffs’

Requests for Production.

                         GENERAL RESPONSES AND OBJECTIONS

1.     Discovery closed on November 18, 2020. If Plaintiffs desire further discovery, they

are obligated to file a motion to re-open discovery.

2.     Defendants object to the purported three-day request for responses as unduly

burdensome and without authority. Plaintiffs lack the ability to seek any discovery, let alone

within some timeline less than is contemplated in the rules. Such timeline is not a

“reasonable” timeline as described by Fed. R. Civ. P. 34.

3.     Defendants’ review of the Grant execution is ongoing. These responses and

objections are made without prejudice to, and are not a waiver of, Defendants’ right to rely

on other facts or documents at trial.


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4.     By making the accompanying responses and objections to Plaintiffs’ requests for

documents, Defendants do not waive, and hereby expressly reserve, their right to assert any

and all objections as to the admissibility of such responses into evidence in this action, or in

any other proceedings, on any and all grounds including, but not limited to, competency,

relevancy, materiality, and privilege. Further, Defendants make the responses and objections

herein without in any way implying that it considers the requests, and responses to the

requests, to be relevant or material to the subject matter of this action.

5.     Defendants will produce responsive documents only to the extent that such

documents are in the possession, custody, or control of the Defendants, as set forth in the

Federal Rules of Civil Procedure. Defendants’ possession, custody, or control does not

include any constructive possession that may be conferred by Defendants’ right or power to

compel the production of documents or information from third parties or to request their

production from other agencies.

6.     A response to a document request stating that objections and/or indicating that

documents will be produced shall not be deemed or construed that there are, in fact,

responsive documents, that Defendants performed any of the acts described in the

document request, interrogatory, or definitions and/or instructions applicable to the

document request or interrogatory, or that Plaintiff acquiesces in the characterization of the

conduct or activities contained in the document request, interrogatory, or definitions and/or

instructions applicable to the document request or interrogatory.



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7.     Defendants expressly reserve the right to supplement, clarify, revise, or correct any or

all of the responses and objections herein, and to assert additional objections or privileges, in

one or more subsequent supplemental response(s).

8.     Publicly available documents including, but not limited to, newspaper clippings, court

papers, and documents available on the Internet, will not be produced.

9.     Defendants object to any Request for Production that seeks documents covered by

the attorney-client privilege, the “work product” privilege or doctrine, and/or matters

prepared in anticipation of litigation or for trial, or for Defendants or their agents.

Defendants do not intend to divulge any information protected by any applicable privilege

or to waive any such privilege. Any such disclosure is inadvertent and shall not be deemed a

waiver of any said privilege or protection.

10.    Defendants object to any Request for Production to the extent it seeks information

or documents obtained or created during the course of an investigation performed by

Defendants or may be subject to the deliberative process privilege.

11.    Defendants object to any Request for Production that seeks a response that would

disclose mental impressions, conclusions, opinions or legal theories of any legal

representative of Defendants concerning this lawsuit.

12.    Defendants object to the Plaintiffs’ request for information in the control of other

Oklahoma agencies beyond the agencies where the Defendants are employed.




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13.     Defendants object to any Request for Production to the extent it seeks information

or documents that are not relevant to the claims or defenses raised in the above-captioned

case or do not appear reasonable calculated to lead to the discovery of admissible evidence.

14.     Defendants object to any Request for Production that seeks documents prohibited

from disclosure under state law, including but not limited to OKLA. STAT. tit. 22, § 1015.

15.     Defendants object to any Request for Production to the extent that it seeks

information that is already in the possession of Plaintiffs; is obtainable from another source

that is more convenient, less burdensome, or less expensive; or is equally accessible to

Plaintiffs as it is to Defendants.

16.     Defendants object to any Request for Production to the extent it is overly broad,

oppressive, unduly burdensome, and expensive to answer.

17.     Defendants object to any request for “all documents,” “all information,” “all

individuals,” or other expansive requests as unduly burdensome to the extent it purports to

foreclose later supplementation under the Federal Rules of Civil Procedure and/or relevant

statute(s).

18.     Defendants object to the extent the Requests for Production are unreasonably

cumulative or duplicative.

19.     Defendants object to the extent the Requests for Productions are unreasonably broad

in scope of time for the needs of the present case and for any documents created before

October 1, 2021.



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20.    Defendants object to any Request for Production to the extent it does not state with

the required degree of specificity and particularity what information is sought. Defendant

further object to said requests to the extent that they are vague, indefinite, ambiguous, and

not easily discernable.

21.    Defendants object to any Request for Production to the extent that the issue(s) upon

which discovery has been sought has already been litigated and decided in this case or is

otherwise disproportionate to the present needs of this case.

22.    Defendants object to the definition of “Document” to the extent it purports to

supplement the Federal Rules.

23.    Defendants object to the use of the Preservation Order in any Requests as overly

broad, unduly burdensome, and incorporating irrelevant material. The Preservation Order

was agreed based on the express premise that “Defendants’ agreement to preserve the

following is not an agreement that such things will be produced or disclosed.” Mr. Stronski’s

acceptance of that agreement cannot be avoided by having different co-counsel sign the

Requests for Production.

24.    Defendants object to any Request for Production to the extent the burden or expense

in complying outweighs any likely benefit, taking into account the needs of the case, the

relief sought, the parties’ resources, and the importance of the request in resolving the issues.

25.    Defendants object to any “continuing requests” to extent that they purport to require

more rapid supplementation than is required by the Federal Rules of Civil Procedure and/or

relevant statute(s).

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                              DOCUMENT REQUESTS

       1.     All Documents concerning the “execution” and “execution proceedings”

relating to John Grant (as those terms are used in paragraph 5 of the Preservation Order).

       OBJECTION: Defendants object to the request for documents not in

       Defendants’ possession or in a form that can be produced. Defendants object to

       the extent that requested documents or communications are publicly available or in

       Plaintiffs’ possession or more conveniently obtained elsewhere. Defendants further

       object to this request as duplicative and burdensome to the extent that it calls for

       documents already produced. Documents already produced will not be produced

       again. In addition, the Preservation Order far exceeds the scope of relevant

       material. A response premised on that Order would be unduly burdensome and

       disproportionate to the needs of the case.

       RESPONSE: Subject to the objections above, and without waiving any objection

       which may be raised under Fed. R. Civ. P. 34(b)(2)(C), Defendants will produce the

       requested documents and communications in accordance with Fed. R. Civ. P.

       34(b)(2)(B), (D), (E) within a reasonable period of time, beginning today if any

       responsive non-privileged documents have been located, and with a rolling

       production as additional responsive documents are located.

       2.     To the extent not encompassed within Request No. 1, all Documents and

other material referenced in or responsive to paragraphs 1-4 of the Preservation Order.


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       OBJECTION: Defendants object to the request for documents or tangible things

       not in Defendants’ possession or in a form that can be produced. Defendants

       object to the extent that requested documents or communications are publicly

       available or in Plaintiffs’ possession or more conveniently obtained elsewhere.

       Defendants further object to this request as duplicative and burdensome to the

       extent that it calls for documents already produced. Documents already produced

       will not be produced again. In addition, the Preservation Order far exceeds the

       scope of relevant material. A response premised on that Order would be unduly

       burdensome and disproportionate to the needs of the case.

       RESPONSE: Subject to the objections above, and without waiving any objection

       which may be raised under Fed. R. Civ. P. 34(b)(2)(C), Defendants will produce the

       requested documents and communications in accordance with Fed. R. Civ. P.

       34(b)(2)(B), (D), (E) within a reasonable period of time, beginning today if any

       responsive non-privileged documents have been located, and with a rolling

       production as additional responsive documents are located.

       3.     To the extent not encompassed within Request Nos. 1 or 2: (a) the syringes

and related material that may have traveled with Mr. Grant’s body following the execution;

(b) any toxicology reports; (c) all photos of Mr. Grant’s body taken in accordance with

Section VII(I)(9) of the Execution Protocol; (d) any unused portions of the execution

drugs; (e) all Documents concerning the “After-Action Review” (Section VII(M) of the

Execution Protocol), including, without limitation, all Documents concerning the

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“meeting” “immediately following the execution” to among other things “review the

process of the execution,” discuss “any unique or unusual events” and “opportunities for

improvement”; and (f) the “Quality Assurance Review” that Director Crow indicated

during his October 29, 2021 press conference was “underway.”

      OBJECTION: Defendants object to the request for documents or tangible things

      not in Defendants’ possession or in a form that can be produced. Defendants

      object to the extent that requested documents or communications are publicly

      available or in Plaintiffs’ possession or more conveniently obtained elsewhere.

      Defendants further object to this request as duplicative and burdensome to the

      extent that it calls for documents already produced. Documents already produced

      will not be produced again.

      RESPONSE: Subject to the objections above, and without waiving any objection

      which may be raised under Fed. R. Civ. P. 34(b)(2)(C), Defendants will produce the

      requested documents and communications in accordance with Fed. R. Civ. P.

      34(b)(2)(B), (D), (E) within a reasonable period of time, beginning today if any

      responsive non-privileged documents have been located, and with a rolling

      production as additional responsive documents are located.

      4.      All Documents concerning the statement made by Justin Wolf on October

28, 2021, repeated by Director Crow at his October 29, 2021 press conference, that the

execution of Mr. Grant was carried out “without complication” (the “Wolf/Crow

Statements”), including all documents reflecting information or communications in
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connection with the Wolf/Crow Statements, and their preparation, drafting, editing or

revising, and all drafts, edits or revisions to Mr. Wolf’s statement.

       OBJECTION: Defendants object to the request for documents not in

       Defendants’ possession or in a form that can be produced. Defendants object to

       the extent that requested documents or communications are publicly available or in

       Plaintiffs’ possession or more conveniently obtained elsewhere. Defendants further

       object to this request as duplicative and burdensome to the extent that it calls for

       documents already produced. Documents already produced will not be produced

       again.

       RESPONSE: Subject to the objections above, and without waiving any objection

       which may be raised under Fed. R. Civ. P. 34(b)(2)(C), Defendants will produce the

       requested documents and communications in accordance with Fed. R. Civ. P.

       34(b)(2)(B), (D), (E) within a reasonable period of time, beginning today if any

       responsive non-privileged documents have been located, and with a rolling

       production as additional responsive documents are located.

       5.       All Documents concerning whether the Wolf/Crow Statements are accurate,

complete or misleading in any way, including stating that the execution of Mr. Grant was

carried out “without complication.”

       OBJECTION: Defendants object to the request for documents not in

       Defendants’ possession or in a form that can be produced. Defendants object to

       the extent that requested documents or communications are publicly available or in
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      Plaintiffs’ possession or more conveniently obtained elsewhere. Defendants further

      object to this request as duplicative and burdensome to the extent that it calls for

      documents already produced. Documents already produced will not be produced

      again.

      RESPONSE: Subject to the objections above, and without waiving any objection

      which may be raised under Fed. R. Civ. P. 34(b)(2)(C), Defendants will produce the

      requested documents and communications in accordance with Fed. R. Civ. P.

      34(b)(2)(B), (D), (E) within a reasonable period of time, beginning today if any

      responsive non-privileged documents have been located, and with a rolling

      production as additional responsive documents are located.

      6.       All Documents concerning the preparation, drafting, editing or revising of

the opening remarks delivered by Director Crow at his October 29, 2021 press conference.

      OBJECTION: Defendants object to the request for documents not in

      Defendants’ possession or in a form that can be produced. Defendants object to

      the extent that requested documents or communications are publicly available or in

      Plaintiffs’ possession or more conveniently obtained elsewhere. Defendants further

      object to this request as duplicative and burdensome to the extent that it calls for

      documents already produced. Documents already produced will not be produced

      again.

      RESPONSE: Subject to the objections above, and without waiving any objection

      which may be raised under Fed. R. Civ. P. 34(b)(2)(C), Defendants will produce the
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       requested documents and communications in accordance with Fed. R. Civ. P.

       34(b)(2)(B), (D), (E) within a reasonable period of time, beginning today if any

       responsive non-privileged documents have been located, and with a rolling

       production as additional responsive documents are located.

       7.       All   Documents   concerning     the    storage,   storage   conditions   and

transportation of Mr. Grant’s body beginning at the declared time of death and continuing

until Mr. Grant’s body is released by the Defendants.

       OBJECTION: Defendants object to the request for documents not in

       Defendants’ possession or in a form that can be produced. Defendants object to

       the extent that requested documents or communications are publicly available or in

       Plaintiffs’ possession or more conveniently obtained elsewhere. Defendants further

       object to this request as duplicative and burdensome to the extent that it calls for

       documents already produced. Documents already produced will not be produced

       again.

       RESPONSE: Subject to the objections above, and without waiving any objection

       which may be raised under Fed. R. Civ. P. 34(b)(2)(C), Defendants will produce the

       requested documents and communications in accordance with Fed. R. Civ. P.

       34(b)(2)(B), (D), (E) within a reasonable period of time, beginning today if any

       responsive non-privileged documents have been located, and with a rolling

       production as additional responsive documents are located.



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Dated: December 6, 2021                Respectfully submitted,

                                       s/ Bryan Cleveland
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